                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:05CR376

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                       ORDER
HAISSAM NASHAR (4),                 )
                                    )
            Defendant               )
___________________________________ )

       THIS MATTER is before the Court on its own Motion. It has come to the Court’s

attention that on August 25, 2006, this matter was reassigned from the Honorable Frank D.

Whitney to the Honorable Richard Voorhees but has not been set on a calendar since such

reassignment. Consequently, this Court will hold a special calendar call for this matter on

Monday, September 25, 2006 at 9:30 am in the United States Courthouse, 200 West Broad

Street, 2nd Floor Courtroom, Statesville, North Carolina.

       SO ORDERED.



                                                Signed: September 19, 2006




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